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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION


KATHLEEN MALONE,

                    Plaintiff,

v.                                                  Case No. 6:22-cv-72-CEM-GJK

FUREVER BULLY LOVE
RESCUE, INC., TANISHA
BRANCHICK, DEBORAH
DARINO, and JENNIFER
ADORNO,

                    Defendants.
                                       /
                                      ORDER
      THIS CAUSE is before the Court upon sua sponte review. “A federal court

not only has the power but also the obligation at any time to inquire into jurisdiction

whenever the possibility that jurisdiction does not exist arises.” Fitzgerald v.

Seaboard Sys. R.R., 760 F.2d 1249, 1251 (11th Cir. 1985) (per curiam). Plaintiff

alleges that this Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331

and 28 U.S.C. § 2261(a). (Compl., Doc. 1, at 2).

      As an initial matter, the Court presumes that the latter statutory authority was

included in error because § 2261(a) does not provide a basis for jurisdiction; it

addresses appointment of counsel in cases under 28 U.S.C. § 2254 “brought by




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prisoners in State custody who are subject to a capital sentence,” 28 U.S.C.

§ 2261(a), which has no apparent connection to this matter. Section 1331, on the

other hand, is a jurisdictional statute, and it provides: “The district courts shall have

original jurisdiction of all civil actions arising under the Constitution, laws, or

treaties of the United States.” However, the Complaint does not set forth any federal

claims, and there is no other obvious basis for jurisdiction on the face of the

Complaint.

      Accordingly, it is ORDERED that on or before January 27, 2022, Plaintiff

shall SHOW CAUSE as to why this case should not be dismissed for lack of subject

matter jurisdiction. Failure to do so may result in the dismissal of this case without

further notice.

       DONE and ORDERED in Orlando, Florida on January 13, 2022.




Copies furnished to:

Counsel of Record




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